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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS


KAREN POLLACK, on behalf of herself and        Case No.: 1:24-cv-11864
others similarly situated,
                                               CLASS ACTION COMPLAINT
                     Plaintiff,
                                               DEMAND FOR JURY TRIAL
v.

CAVENDISH FARMS LTD.; CAVENDISH
FARMS, INC.; J.R. SIMPLOT COMPANY;
LAMB WESTON HOLDINGS, INC.;
LAMB WESTON, INC.; LAMB WESTON
BSW, LLC; LAMB WESTON SALES,
INC.; MCCAIN FOODS LTD; and
MCCAIN FOODS USA, INC.

                     Defendants.




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       Plaintiff Karen Pollack brings this action on behalf of herself, and all others similarly

situated to recover damages and obtain injunctive relief against Defendants for violations of (i) the

antitrust laws of the United States, and (ii) the antitrust and consumer protection laws of the states

set forth herein. Plaintiff alleges as follows based on personal knowledge as to herself, and on

information and belief as to all others.

                                           INTRODUCTION

       1.      Defendants Cavendish Farms, Ltd. and Cavendish Farms, Inc. (collectively,

“Cavendish”), J.R. Simplot Company (“Simplot”), Lamb Weston Holdings, Inc., Lamb Weston,

Inc.; Lamb Weston BSW, LLC; Lamb Weston/Midwest, Inc.; Lamb Weston Sales, Inc.

(collectively, “Lamb Weston”), and McCain Foods, Ltd. and McCain Foods USA, Inc.

(collectively, “McCain”)—are the largest producers and sellers of frozen french fries, hash browns,

tater tots and other frozen potato products (collectively, “Frozen Potato” or “Frozen Potatoes”) in

the United States. 1 This is a highly concentrated industry and the four named Defendants control

over 95% of the Frozen Potatoes market.

       2.      Starting as early as January 1, 2021 and continuing to the present (“Class Period”),

Defendants and their co-conspirators conspired to fix, raise, maintain, and stabilize the price of

Frozen Potatoes in the United States. Defendants implemented and executed their conspiracy by

increasing the price of Frozen Potatoes at nearly identical times, leveraging a temporary spike in

input costs to justify permanent industry-wide price increases, and utilizing other available means

to exploit their collective market power and artificially increase prices of Frozen Potatoes.




1
 AAGGRRII, Industry’s Top French Fry Producers, https://aaggrrii.com/case-studies/french-fry-
producers.




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       3.      Defendants’ anticompetitive conspiracy has led to record profits and revenues

during the Class Period. Defendant Lamb Weston reported that its first quarter fiscal year 2024 net

income increased 111% year-over-year. 2 From July 2023 to June 2024, although sales volume

remained flat, Frozen Potato sales in dollars increased by 14.6%. 3 Likewise, between July 2022

and July 2024, Frozen Potato prices jumped 47%.

       4.      Defendants’ wrongful and anticompetitive actions had the intended purpose and

effect of artificially fixing, raising, maintaining, and stabilizing the price of Frozen Potatoes to

Plaintiff and members of the Classes (as defined herein) to overpay. As a direct result of

Defendants’ concerted pricing and supply side decision making, Frozen Potato prices in the United

States have been artificially inflated since at least January 1, 2021, causing consumers such as

Plaintiff and members of the Classes to pay more for Frozen Potatoes than they would have but

for the Defendants’ agreement.

       5.      On behalf of a proposed class of tens of millions of consumers nationwide, Plaintiff

brings this class action to put an end to Defendants’ illegal scheme, to recover damages, and to

restore competition in the Frozen Potato marketplace.

                                 JURISDICTION AND VENUE

       6.      This action arises under Section 1 of the Sherman Act (15 U.S.C. § 1), and Section

16 of the Clayton Act (15 U.S.C. § 26). Plaintiff’s Sherman Act claim seeks injunctive relief, costs




2
 Bill McColl, Lamb Weston’s Profit Soars on Higher Prices and Shares of the Potato Processor
Jump, INVESTOPEDIA.COM, Oct. 5, 2023, available at https://www.investopedia.com/lamb-
weston-profit-soars-on-higher-prices-and-shares-jump-8348245.
3
 T.G. Lynn, U.S. Frozen Potato Market Thrives Amid Challenges: Opportunities for Future
Growth, POTATOES NEWS, Oct. 23, 2024, available at https://potatoes.news/u-s-frozen-potato-
market-thrives-amid-challenges-opportunities-for-future-growth/.




                                                 2
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of suit, and reasonable attorney’s fees, and the state law claims seek injunctive relief, damages,

costs of suit, and reasonable attorneys’ fees.

       7.      This Court has subject matter jurisdiction pursuant to Section 16 of the Clayton

Act, 15 U.S.C. § 26, and 28 U.S.C. §§ 1331, 1333(d), 1337(a), and 1367.

       8.      This Court has personal jurisdiction over all Defendants pursuant to Section 12 of

the Clayton Act, 15. U.S.C. § 22 and 28 U.S.C. § 1391. Venue is proper because Defendants reside,

transact business, and can be found in this District.

       9.      Defendants’ unlawful, anticompetitive conduct substantially affected interstate

commerce throughout the United States, causing injury to Plaintiff and the geographically

dispersed Class Members.

       10.     Venue is appropriate in this District under Sections 4, 12, and 16 of the Clayton

Act, 15 U.S.C. §§ 15, 22 and 26 and 28 U.S.C. § 1391(b), (c) and (d), because one or more

Defendants resided or transacted business in this District, is licensed to do business or is doing

business in this District, and because a substantial portion of the affected interstate commerce

described herein was carried out in this District.

       11.     This Court has personal jurisdiction over each Defendant because, inter alia, each

Defendant: (a) transacted business throughout the United States, including in this District; (b)

manufactured, sold, shipped, and/or delivered substantial quantities of Frozen Potatoes throughout

the United States, including this District; (c) had substantial contacts with the United States,

including this District; and/or (d) engaged in an antitrust conspiracy that was directed at and had a

direct, foreseeable, and intended effect of causing injury to the business or property of persons

residing in, located in, or doing business throughout the United States, including this District.




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        12.    The activities of the Defendants and all co-conspirators, as described herein, were

within the flow of, were intended to, and did have direct, substantial and reasonably foreseeable

effects on the interstate commerce of the United States.

        13.    No other forum would be more convenient for the parties and witnesses to litigate

this case.

                                            PARTIES

                                           PLAINTIFF

        14.    Plaintiff Karen Pollack is a California resident residing in the County of Los

Angeles where she purchased Frozen Potatoes for her personal use during the Class Period and

suffered antitrust injury because of the violations alleged in this Complaint.

                                         DEFENDANTS

A.      Cavendish Farms

        15.    Defendant Cavendish Farms, Inc. is a Delaware corporation, that maintains its

primary United States office located at 25 Burlington Mall Road, Burlington, Massachusetts, and

a manufacturing plant located at 5855 Third Street, S.E. Jamestown, North Dakota. Cavendish

Farms, Inc. is a wholly owned subsidiary of Defendant Cavendish Farms, Ltd., a company existing

under the laws of the Province of New Brunswick, Canada with its principal place of business

located at 100 Midland Dr. Dieppe, New Brunswick, Canada E1A 6X4.

        16.    Cavendish manufactures frozen french fries and potato products at facilities

throughout the United States and is the fourth largest processor of Frozen Potato products in North

America. At all times relevant to this action, Cavendish was doing business in the State of Illinois.

B.      J.R. Simplot Company

        17.    Defendant J.R. Simplot Company is a Nevada corporation with its principal place

of business located at 1099 West Front Street, Boise, Idaho.




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        18.    Simplot manufactures Frozen Potatoes at facilities throughout the United States.

Simplot is one of the largest potato companies in the world, with gross revenue in 2020 exceeding

$6 billion. At all times relevant to this action, Simplot was doing business in the State of Illinois.

C.      Lamb Weston

        19.    Defendant Lamb Weston Holdings, Inc. is a Delaware corporation with its principal

place of business located at 599 South Rivershore Lane, Eagle, Idaho. It owns and operates a

collection of subsidiaries all involved in the production and marketing of Frozen Potatoes,

including Defendants Lamb Weston, Inc., Lamb Weston BSW, LLC, Lamb Weston/Midwest, Inc.

and Lamb Weston Sales, Inc.

        20.    Lamb Weston Holdings, Inc. is a publicly traded company on the New York Stock

Exchange. Lamb Weston is the world’s second largest producer of branded and private-label

Frozen Potato products, including french fries, tots and hash browns. Approximately 86% of Lamb

Weston Holdings, Inc. products are distributed within the food-service industry, while the

remaining 14% are sold at retail.

        21.    At all times relevant to this action, Lamb Weston was doing business in the State

of Illinois.

D.      McCain Foods

        22.    Defendant McCain Foods USA, Inc. is a Maine corporation with its principal place

of business located at One Tower Lane, 11th Floor, Oakbrook Terrace, Illinois. Defendant McCain

Foods USA, Inc. is a wholly owned subsidiary of Defendant McCain Foods Limited, a company

existing under the laws of the Province of New Brunswick, Canada, with its principal place of

business located at 439 King Street West, 5th Floor, Toronto, Ontario, Canada.

        23.    McCain’s products are manufactured throughout the United States at several food

processing facilities. McCain is one of the world’s largest manufacturers of Frozen Potatoes.



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McCain also produces other foods, including snacks, appetizers, meals and vegetables. McCain

sells its products at retail as well as to food-service companies. McCain has significant operations

in the United States, and at all times relevant to this action, McCain was doing business in the State

of Illinois.

                             AGENTS AND CO-CONSPIRATORS

        24.    Defendants’ acts were performed by their respective officers, directors, agents,

employees or representatives while actively engaged in the management, direction, control or

transaction of Defendants’ business affairs.

        25.    Various other persons, firms and corporations not named as Defendants have

participated as co-conspirators with Defendants and have performed acts and made statements in

furtherance of the conspiracy. Defendants are jointly and severally liable for the acts of their Co-

conspirators, whether or not the Co-conspirators are named as Defendants in this Complaint.

        26.    Whenever reference is made to any act of any corporation, the allegation means

that the corporation engaged in the act by or through its officers, directors, agents, employees or

representatives while they were actively engaged in the management, direction, control or

transaction of the corporation’s business or affair.

        27.    Each Defendant named herein acted as the agent or joint-venturer of or for the other

Defendants with respect to the acts, violations and common course of conduct alleged herein.

        28.    Defendants are also liable for acts done in furtherance of the alleged conspiracy by

companies they acquired through mergers and acquisitions.

                                  FACTUAL ALLEGATIONS

A.      Background on the Frozen Potato Industry

        29.    Potatoes are the leading vegetable crop in the United States, and the United States

is the fifth largest producer of potatoes in the world. Billions of pounds of potatoes are produced



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in the United States every year. For instance, in 2023, nearly a million acres of potatoes were

harvested in the United States, producing 44 billion pounds of potatoes. Of those 44 billion pounds,

41 billion were sold for a total value of $5.3 billion USD. 4


                              Potatoes Sold in U.S. (millions cwt)
               430

               420

               410

               400

               390

               380

               370

               360

               350
                     2016    2017         2018        2019   2020   2021   2022      2023


         30.     Approximately 70% of potatoes sold in the United States are sold to processors for

Frozen Potatoes, chips, shoestrings, dehydrated potatoes, and other potato products.


                       Potatoes Sold by Disposition (2023)
                                                 0%

                                            5%
                                                                                  Processors
                                    25%
                                                                                  Table stock
                                                                                  Seed sales
                                                       70%                        Livestock feed




4
    A “cwt,” or “hundredweight,” is equal to 100 pounds.




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       31.     Of the potatoes sold to processors, approximately 60% are used for frozen french

fries and other frozen products which, in 2023, accounted for 17.6 billion pounds of potatoes.

According to one estimate, the average American consumes nearly 48 pounds of Frozen Potatoes

each year.


                       Processed Potatoes by Use (2023)
                                1%
                                                                  Chips and shoestrings
                                   3%
                             15%         20%                      Frozen french fries and other
                                                                  frozen products
                                                                  Dehydrating


                                                                  Canning

                                   61%
                                                                  Other products




       32.     Frozen Potatoes are produced in a multi-step process that is highly automated using

specialized machines. These machines clean and peel potatoes, cut them into strips or other shapes,

blanch, dehydrate, par-fry, freeze, pack, and store them.

       33.     Frozen Potato producers typically acquire potatoes in mass quantities from potato

growers and produce a variety of products in their factories. They sell these products to a variety

of customers, including the food service industry, which consists of restaurants, hotels, schools,

hospitals and other facilities; and, in retail channels, including grocery stores, convenience stores

and other retailers such as Target and Wal Mart. Food distributors also purchase Frozen Potatoes

from producers.

       34.     Frozen Potatoes are ultimately intended to be sold to consumers, such as Plaintiffs

and the Classes. Frozen Potatoes are popular both in the foodservice and retail sectors. Throughout




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the Class Period, french fries appeared on 59-60% of restaurant menus nationwide. 5 Retail sales

of Frozen Potatoes increased nearly 10% from 2019 to 2024. 6

B.          Defendants’ Synchronized Price Increases in Furtherance of the Conspiracy

            35.   Defendants engaged in a conspiracy to fix and raise the price of Frozen Potatoes

throughout the Class Period. Upon information and belief, Defendants’ conspiracy was

implemented by their exchange of detailed, competitively sensitive, and closely guarded, non-

public information about Frozen Potatoes.

            36.   Defendants coordinated price increases at identical or near-identical times during

the Class Period to the detriment of Plaintiff and the Class. Defendants sent price increase letters

to their customers, noting the amount, outlining an effective date, and sometimes including

purported justifications.

            37.   In January 2021, Simplot and McCain each sent price increase letters to their

customers within one day of each other. These letters indicated that the cost of Frozen Potatoes

would increase by $0.04 per pound. Simplot also notified Plaintiff and the Class that the price of

line flow potato products would increase by $0.02 per pound. In January of 2021, Simplot and

McCain each sent price increase letters within one day of each other. These letters indicated that

the cost of Frozen Potatoes would increase by $0.04 per pound. Simplot also notified Plaintiff and

the Classes that the price of line flow potato products would increase by $0.02 per pound. The

letters sent by Simplot and McCain both indicated an effective date of March 15, 2021.




5
 T.G. Lynn, U.S. Frozen Potato Market Thrives Amid Challenges: Opportunities for Future
Growth, POTATOES NEWS, Oct. 23, 2024, available at https://potatoes.news/u-s-frozen-potato-
market-thrives-amid-challenges-opportunities-for-future-growth/.
6
    Id.




                                                  9
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        38.    In May 2021, Lamb Weston and McCain sent price increase letters within two

weeks of each other. The Lamb Weston letter indicated that the cost of Frozen Potatoes would

increase by $0.08 per pound, while the McCain price increase letter indicated that the cost of

Frozen Potatoes would increase by $0.04 per pound. The letters sent by Lamb Weston and McCain

had effective dates of July 1, 2021 and July 15, 2021, respectively. Furthermore, on June 4, 2021,

Cavendish sent price increase letters indicating that the cost of Frozen Potatoes would increase by

$0.04 per pound. The Cavendish letter had an effective date of July 15, 2021, the same day as

McCain’s price increase.

        39.     In October 2021, Lamb Weston, McCain, and Cavendish each sent price increase

letters within five days of each other. The price increase letters all indicated that the cost of Frozen

Potatoes would increase by $0.08 per pound, and all had the same effective date—December 15,

2021.

        40.     In February of 2022, Defendants Lamb Weston, McCain, Simplot and Cavendish

each sent price increase letters within five days of one another. The McCain and Cavendish letters

indicated that the cost of Frozen Potatoes would increase by $0.12 per pound, while the Lamb

Weston price increase letter indicated that the cost of Frozen Potatoes would increase by $0.10 per

pound. The price increase letters had the same effective dates of April 1, 2022. And on April 8,

2022, Cavendish sent a price increase letter indicating that the cost of Frozen Potatoes would

increase by $0.07 per pound, with an effective date of May 15, 2022.

        41.    In a competitive market, price increases would be viewed by competitors as

opportunities to increase market share through more competitive pricing. However, this was not

the case in the Frozen Potato industry as confirmed by Lamb Weston’s former Vice-President who

admitted their prices increase: “will probably be exactly the price increase that McCain wanted,




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which was $0.04 on A grade and $0.02 they will announce a price increase.” The former Vice

President added, “And they hope McCain will follow, and Simplot will follow, and Cavendish will

follow.” 7 These public signaling statements were in furtherance of Defendants’ conspiracy to

artificially increase Frozen Potato as alleged in this Complaint. Additionally, a former Senior

Director of McCain Foods stated in or around 2023 that he wanted to compete with Lamb Weston

on price and market share of battered fries but the “higher ups in the room…[thought] we’re going

to screw it up for everyone. So we shouldn’t risk it.” Around the same time, when asked if there

was no incentive to fight for market share, a former VP of International at Lamb Weston stated:

“Absolutely. 100%. And they are behaving themselves.” That same executive added that he had

“never ever seen margins this high in the history of the potato industry. So this is unusual for

people that have been in the industry this long.”

C.     Defendants’ Anticompetitive Conduct Caused Unprecedented Anticompetitive Price
       Increases for Frozen Potatoes

       42.     During the Class Period, the price of french fries and other Frozen Potato products

has risen dramatically. Plaintiff analyzed the Produce Price Index (PPI) of Frozen Potatoes, which

as demonstrated by Figure 1 shows an increase over time in Frozen Potato prices, with a notable

spike commencing at the start of the Class Period.




7
 Transcript of Conversation with Paul Burger, available at
https://app.tegus.co/guest/document/view/67Hf3DiMGQ944SkfpRhLfNeiqekjA67sm2dxTCYtjo
ggUaJXk2chDg9wxMnZ (last accessed Nov. 17, 2024).




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                                   FIGURE 1: PPI FROZEN POTATOES 8




       43.     Figure 2 illustrates the same data with an added trend line, showing the projection

of Frozen Potatoes prices. The 1991-2022 dashed trendline shows the trajectory of prices of Frozen

Potatoes prior to the beginning of the Class Period, extended to show the expected prices during

the Class Period. Figure 2 shows that, prior to the Class Period, prices for Frozen Potatoes

generally followed a relatively stable trendline, before spiking during the Class Period.

Examination of these price spikes indicates that they cannot be explained by non-conspiratorial




8
 The PPI of Frozen Potato products comes from the Federal Reserve Economic Data. Producer
Price Index by Commodity: Processed Foods and Feeds: Frozen Potato Products (French-Fried,
Patties, Puffs, etc.), FRED, available at https://fred.stlouisfed.org/series/WPU024502.




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explanatory variables including the price of potatoes, price of cooking oil, and wages of Frozen

Potato manufacturers.


                        FIGURE 2: PPI FROZEN POTATOES WITH TRENDLINE




       44.    This analysis confirms that Defendants’ anticompetitive conduct caused dramatic

and unprecedented price increases in the Frozen Potato market.

D.     The Structure and Characteristics of the Frozen Potato Market Render the
       Conspiracy Economically Plausible

       1.     The Frozen Potato Industry is Highly Concentrated

       45.    The Frozen Potatoes industry is highly concentrated, with just a few producers

controlling the supply. Defendants comprise the four largest domestic sellers of Frozen Potatoes




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in North America, collectively holding over 95% of the market. 9 According to one November 2023

analysis, Lamb Weston held more than a 40% market share, followed by McCain at 30%, Simplot

at 20%, and Cavendish at 7–8%. 10

          46.    Defendants have long controlled the United States Frozen Potatoes market. Indeed,

a 2001 book found that just three Defendants—Lamb Weston, McCain and J.R. Simplot—had a

collective market share of 80%. 11 At present, Defendant Cavendish self-identifies as “the 4th

largest processor of Frozen Potato products in North America.” 12

          47.    This high market concentration paved the way for conspiracy, since Defendants

only needed to agree with, and police, a few market participants for their price-fixing agreement

to be successful. Moreover, their large market shares gave them the collective power to impose

and sustain the price increases described herein.

          48.    President Biden has repeatedly clamored against the historic levels of economic

concentration across the United States, describing it as “troubling” while vowing to “be the first

president in four decades to reverse this trend.” Highlighting the heightened scrutiny of

anticompetitive behavior in the United States in recent years, the Biden Administration launched

“a new Strike Force to crack down on unfair and illegal pricing” in March 2024. The task force is

jointly led by the FTC and the DOJ.



9
  Price Increases on French Fries Sold to Restaurants, Bars Generate Accusations of
Coordination, 10 CAPITOL F. 299, 4 (May 19, 2022).
10
   Morningstar, Lamb Weston’s Low-Cost Production and Solid Execution Capitalize on
Continued Growth of Fries (Nov. 20, 2023), https://www.morningstar.com/company-
reports/1194572-lamb-westons-low-cost-production-and-solid-execution-capitalize-on-
continued-growth-of-fries.
11
  See E. Schlosser, FAST FOOD NATION: THE DARK SIDE OF THE ALL-AMERICAN MEAL, at p. 116–
17, Houghton Mifflin: Boston (2001).
12
     See Cavendish Farms, https://us.cavendishfarms.com/en/our-story/ .




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       2.      Frozen Potatoes Are a Substitutable Commodity Product, Which Encourages
               Collusion

       49.     Frozen potatoes are a commodity product and Defendants’ Frozen Potato products

do not differ significantly in terms of quality, appearance, or use, rendering them functionally

interchangeable. Frozen potatoes are generally produced and sold to standard specifications (e.g.,

grade of potatoes, style, dimensions, color, size, free fatty acid content, weight, method of cooking,

etc.) and must adhere to standards set by the U.S. Department of Agriculture for production,

packing, labeling, and packaging to be competitive. (See generally, U.S. Dept. of Agric.,

Commodity Specification for Frozen Potato Products (December 2021).)

       50.     When products are interchangeable, companies generally are forced to win business

by competing on price. Thus, cartels are more likely to form between competitors selling

interchangeable products as means to avoiding price-based competition and because cartel

members can more easily monitor and detect defections from a price-fixing agreement.

       3.      The Frozen Potato Market is Characterized by Inelastic Demand

       51.     Demand is considered inelastic when a seller can increase prices without suffering

a substantial reduction in demand. Demand inelasticity allows for collusion, because it enables

producers to raise their prices collectively without triggering substitution to alternative products

that could make the conspiratorial prices unprofitable.

       52.     Consumer demand for Frozen Potatoes is relatively unaffected by price because

Frozen Potatoes are historically considered to be an inexpensive good, and even when prices

fluctuate, they comprise a small share of consumers’ budgets. Moreover, as one analyst noted in




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2023, “since potatoes are the most popular vegetable among U.S. consumers, the demand for

potatoes is more price inelastic than that for less popular vegetables.” 13

        53.     Pricing for Frozen Potatoes is highly inelastic, in part, because there are no adequate

substitutes. Frozen Potatoes are sold in virtually all restaurants and grocery stores throughout the

United States. This is because, due to their reduced preparation and ease of use, Frozen Potatoes

are commercially accepted on a large scale. Although there are potential substitute products, such

as fresh potatoes, the characteristics of those products lack the unique characteristics of Frozen

Potatoes that make them the attractive to both commercial and residential customers.

        54.     Indeed, according to Defendant Lamb Weston, “[a] larger share of customers [are]

adding [french fries] to meal orders than in the past.” Lamb Weston’s CEO, Thomas Werner, noted

during a recent earnings call that: “[t]he fry attachment rate has stayed pretty consistent,” though

“[i]t’s been above historical levels for the past two, three years,” despite mounting reasons to

tighten purse strings.” 14

        55.     While demand for Frozen Potatoes—as a category—is relatively unaffected by

price, competition within the industry would have allowed consumers to choose the cheapest

brand. Put another way, had Defendants not coordinated their price increases, consumers would

have preferred the cheapest brand.




13
  Potatopro.com, US Potato Prices Expected to Ease but Stay Elevated according to Rabobank
Report (June 6, 2023), available at https://www.potatopro.com/es/news/2023/us-potato-prices-
expected-ease-maintain-elevated-levels-rabobank-report.
14
   CNBC, Demand for french fries reflects resilient consumer as so-called fry attachment rate
holds steady (Apr. 5, 2024) https://www.cnbc.com/2024/04/05/demand-for-french-fries-reflects-
resilient-consumer-as-so-called-fry-attachment-rate-holds-steady.html.




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          4.     Defendants Had Numerous Opportunities to Collude

          56.    Defendants have had ample opportunities to collude through trade association

meetings, via movement of executives from one co-conspirator to another, and other contacts.

          57.    Each of the Defendants is a “sustaining member” of the National Potato Council

(“NPC”). 15 The NPC bills itself as “the advocate for the economic well-being of the U.S. potato

growers on federal legislative, regulatory, environmental, and trade issues.” 16 The NPC holds

annual and seasonal meetings each year, as well as an annual “Potato Expo” and countless other

meetings, summits, and leadership institutes which, combined, provide ample opportunities for

Defendants to collude. Defendants Simplot, Lamb Weston, and McCain sponsored the 2024 Potato

Expo held in Austin, Texas. 17

          58.    Three Defendants are also “sustaining partners” of the World Potato Congress.

McCain and Simplot are “platinum” partners, while Cavendish is a “silver” partner. The

Congress’s vision is to be “[r]ecognized world-wide as the premier global potato networking

organization,” and its mission is to “create networks to help drive sustainable growth of the

potato.” 18 The Congress’s biennial meetings and networking focus provided opportunities for

collusion as well. 19




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     See https://www.nationalpotatocouncil.org/who-we-are/allied-partners/sustaining-members/.
16
     See https://www.nationalpotatocouncil.org.
17
     See https://www.nationalpotatocouncil.org/potato-expo/sponsors/.
18
     See https://potatocongress.org/about/.
19
     See https://potatocongress.org/sustaining-partners/presidents-invitation/.




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          59.     Defendants McCain and Cavendish sponsored the March 2024 Northeast Potato

Technology forum in Charlottetown, PEI Canada. 20 The forum bills itself as an opportunity to

“discuss potato research and promote collaboration and information exchange.” 21

          60.     Defendants Simplot, McCain, and Lamb Weston sponsored the July 2024 Potato

Sustainability Alliance Summer Symposium at McDonald’s headquarters in Chicago, IL. 22 The

Potato Sustainability Alliance bills itself as “an inclusive, pre-competitive collaboration of all

players in the potato value chain.” 23

          5.      There Are High Barriers to Entry in the Frozen Potato Industry

          61.     Under normal circumstances, a collusive agreement amongst horizontal

competitors would attract new market entrants. However, high barriers to entry in the Frozen

Potatoes industry have prevented new firms from entering the market.

          62.     In particular, any new entrant would need to invest significant start-up capital on

plants, specialized equipment, labor, infrastructure for distribution, and regulatory compliance. In

addition, producers of Frozen Potato products are typically either vertically integrated (i.e., they

grow their own potatoes), such as Defendant J.R. Simplot, or they have long established farm

partners from whom they source their potatoes. This makes de novo entry by new participants even

more challenging.

          63.     As a result, new competitors were prevented from responding to the supra-

competitive prices caused by Defendants’ price-fixing agreement by entering the market, thus

facilitating Defendants’ conspiracy.


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     See https://northeastpotato.com/.
21
     https://northeastpotato.com/wp-content/uploads/2023/03/2023_NEPTF_Abstract_Book.pdf.
22
     See https://potatosustainability.org/symposium/#agenda.
23
     See https://potatosustainability.org/about-the-alliance/.




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                              CLASS ACTION ALLEGATIONS

        64.    Plaintiff brings this action on behalf of itself and as a class action under the

provisions of Rule 23(a), (b)(1) and (b)(2) of the Federal Rules of Civil Procedure on behalf of the

members of a class of consumer indirect purchasers seeking injunctive relief (the “Nationwide

Class”) defined as follows:

               All persons and entities who indirectly purchased Frozen Potatoes
               from defendants or co-conspirators for personal consumption
               between January 1, 2021 and the present.

        65.    Plaintiff also brings this action on behalf of themselves, and all others similarly

situated as a class action under Federal Rules of Civil Procedure 23(a) and 23(b)(3), seeking

damages as well as equitable relief, on behalf of the following class (the “State Law Class”):

               All persons and entities who indirectly purchased Frozen Potatoes
               from defendants or co-conspirators for personal consumption in
               Alabama, Arizona, Arkansas, California, Colorado, Connecticut,
               the District of Columbia, Florida, Hawaii, Illinois, Iowa, Kansas,
               Maine, Maryland, Michigan, Minnesota, Mississippi, Montana,
               Nebraska, Nevada, New Hampshire, New Jersey, New Mexico,
               New York, North Carolina, North Dakota, Oregon, Rhode Island,
               South Dakota, Tennessee, Utah, Vermont, West Virginia, and/or
               Wisconsin between January 1, 2021 and the present.

        66.    Specifically excluded from the Nationwide Class and State Law Class (collectively

“Classes”) are Defendants; the officers, directors, or employees of any Defendant; any entity in

which any Defendant has a controlling interest; and any affiliate, legal representative, heir, or

assign of any Defendant. Also excluded from these Classes is any judicial officer presiding over

this action and the members of his/her immediate family and judicial staff, any juror assigned to

this action, any business majority-owned by any such person, and any Co-conspirator identified in

this action.




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          67.    Numerosity: Plaintiff does not know the exact number of Class Members 24 because

such information presently is in the exclusive control of Defendants. Plaintiff believes that due to

the nature of the trade and commerce involved, there are thousands of Class Members

geographically dispersed throughout the United States, such that joinder of all Class Members is

impracticable.

          68.    Typicality: Plaintiff’s claims are typical of the claims of the Classes because

Plaintiff purchased Frozen Potatoes indirectly from one or more of the Defendants, and therefore

Plaintiff’s claims arise from the same common course of conduct giving rise to the claims of the

members of the Classes and the relief sought is common to the Classes.

          69.    Common Questions Predominate: There are questions of law and fact common

to the Classes, including, but not limited to:

          A.     Whether Defendants and their co-conspirators engaged in an agreement,

                 combination, or conspiracy to fix, raise, elevate, maintain, or stabilize prices of

                 Frozen Potatoes sold in interstate commerce in the United States;

          B.     The duration of the conspiracy alleged herein and the acts performed by Defendants

                 and their co-conspirators in furtherance of the conspiracy;

          C.     Whether the alleged conspiracy violated the antitrust laws;

          D.     Whether the conduct of Defendants and their co-conspirators, as alleged in this

                 Complaint, caused injury to the business or property of the Plaintiff and Class

                 Members;




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     Class Members refers to the members of the Classes as defined in this Complaint.




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       E.      The effect of Defendants’ alleged conspiracy on the prices of Frozen Potatoes sold

               in the United States and applicable states listed in the State Law Class during the

               Class Period;

       F.      Whether Plaintiff and other members of the Classes are entitled to, among other

               things, injunctive relief and if so, the nature and extent of such injunctive relief;

               and

       G.      The appropriate class-wide measure of damages.

These and other questions of law or fact which are common to the members of the Classes

predominate over any questions affecting only individual members of the Classes.

       70.     Adequacy: Plaintiff will fairly and adequately protect the interests of the Classes

in that Plaintiff’s interests are aligned with, and not antagonistic to, those of the other members of

the Classes who indirectly purchased Frozen Potatoes and Plaintiff has retained counsel competent

and experienced in the prosecution of class actions and antitrust litigation to represent themselves

and the Classes.

       71.     Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy since individual joinder of all damaged Class Members

is impractical. Prosecution as a class action will eliminate the possibility of duplicative litigation.

The relatively small damages suffered by individual Class Members compared to the expense and

burden of individual prosecution of the claims asserted in this litigation means that, absent a class

action, it would not be feasible for Class Members to seek redress for the violations of law herein

alleged. Further, individual litigation presents the potential for inconsistent or contradictory

judgments and would greatly magnify the delay and expense to all parties and to the court system.

Therefore, a class action presents far fewer case management difficulties and will provide the




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benefits of unitary adjudication, economy of scale and comprehensive supervision by a single

court.

         72.    The prosecution of separate actions by individual Class Members would create the

risk of inconsistent or varying adjudications, establishing incompatible standards of conduct for

Defendants.

         73.    Defendants have acted on grounds generally applicable to the Classes, thereby

making final injunctive relief appropriate with respect to the Classes as a whole.

    DEFENDANTS ARE ENGAGED IN A CONTINUING ANTITRUST VIOLATION

         65.    During the Class Period, Defendants continued to sell Frozen Potatoes to Plaintiff

and other putative Class Members at prices artificially inflated by Defendants’ price-fixing

conspiracy.

         66.    Due to ever-fluctuating economic and market conditions, Defendants needed to

continually renew, monitor, and adjust their price-fixing agreement. This resulted in multiple

coordinated price increases throughout the Class Period, as described above. Moreover, each of

these activities resulted in new, overt acts that injured Plaintiff and the putative Classes, thus

creating a new cause of action for purposes of the statute of limitations.

         67.    In addition, each sale of Frozen Potatoes made to Plaintiff or the putative Classes

that was artificially inflated as a result of the conspiracy also constituted a new, overt act that

restarted the statute of limitations.

         68.    These new, overt acts—which would not have occurred had the conspiracy

disbanded—were not merely reaffirmations of Defendants’ previous acts. Rather, they were new

and independent acts that were necessary to renew and refine Defendants’ agreement, resulting in

new and accumulating injury to Plaintiff and the other members of the proposed Classes.




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       69.     As a result, Defendants engaged in a continuing antitrust violation throughout the

Class Period and, regardless of any tolling- and estoppel-related arguments, Plaintiff’s claims and

those of the putative Classes are not time barred.

 PLAINTIFF DID NOT DISCOVER, NOR COULD HAVE DISCOVERED THROUGH
    REASONABLE DILIGENCE THE CLAIMS IN THIS LAWSUIT EARLIER

       70.     Plaintiff’s antitrust claims are governed by the discovery rule—i.e., the statute of

limitations does not begin to run until discovery of the injury from the alleged violation. Prior to

the investigation and analysis performed by and for Plaintiff’s counsel, Plaintiff and putative Class

Members did not know—nor could they have known through the exercise of reasonable

diligence—that the prices they were paying for Frozen Potatoes were artificially inflated and

causing them injury.

       71.     Furthermore, even assuming that Plaintiff could have somehow discovered their

injury sooner (which they could not have), they could not have determined that those injuries were

the result of Defendants’ price-fixing conspiracy. As discussed below, not only did Defendants

never reveal the existence of their price-fixing conspiracy, they actively concealed its existence

by, among other things, blaming price increases on rising raw material, packaging, labor, and

energy costs, as well as environmental conditions such as heatwaves and droughts. Plaintiffs did

not know and had no reasonable way of knowing that these statements were false and, in fact, they

were being injured by Defendants’ price-fixing conspiracy.

       72.     For these reasons, both the discovery rule and the doctrine of equitable tolling

dictate that all of Plaintiff’s claims and those of the putative Classes, going back to the beginning

of the Class Period, are timely.




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        DEFENDANTS FRAUDULENTLY CONCEALED THEIR CONSPIRACY

       73.     Throughout the Class Period, each of the Defendants effectively, affirmatively, and

fraudulently concealed their conspiracy from Plaintiffs and putative Class Members.

       74.     In engaging in the price increases and other conspiratorial acts set forth in this

Complaint, the Defendants pointed to and utilized false and misleading pretexts, including

assertions that the price increases were due to rising costs of potatoes and other inputs for Frozen

Potatoes. As set forth herein, and based on Plaintiff’s analysis, such pretexts cannot explain or

justify the prices increases set forth herein and were intended to conceal Defendants’ conspiracy.

       75.     As a result of this active concealment, Plaintiffs and putative Class Members

neither knew, nor in the exercise of due diligence could they have reasonably known, of the facts

that form the basis for their claims. Thus, even if the discovery rule or equitable tolling were

somehow inapplicable, Defendants should nonetheless be estopped from raising any statute of

limitations defense.

             ANTICOMPETITIVE EFFECTS OF DEFENDANTS’ CONDUCT

       74.     Defendants’ anticompetitive conduct had the following effects, among others:

               a.      Price competition has been restrained or eliminated with respect to Frozen

                       Potatoes;

               b.      The prices of Frozen Potatoes have been fixed, raised, stabilized, or

                       maintained at artificially inflated levels;

               c.      Indirect purchasers of Frozen Potatoes have been deprived of free and open

                       competition; and

               d.      Indirect purchasers of Frozen Potatoes paid artificially inflated prices.

       75.     The purpose of the conspiratorial conduct of the Defendants and their co-

conspirators was to raise, fix, or maintain the price of Frozen Potatoes. As a direct and foreseeable



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result, Plaintiff and the Classes paid supra-competitive prices for Frozen Potatoes during the Class

Period.

          76.     The price effects of Defendants’ conduct have particularly impacted the consumer

Class Members in this case, who have borne the brunt of the conspiracy, by being forced to pay

higher prices for Frozen Potatoes at restaurants and retail stores. As one recent article noted,

“Consumer purchases of frozen potatoes have shown minimal sensitivity to price increases,

indicating inelastic demand.” 25

          77.     By reason of the alleged violations of the antitrust laws, Plaintiff and the Classes

have sustained injury to their businesses or property, having paid higher prices for Frozen Potatoes

than they would have paid in the absence of Defendants’ illegal contract, combination, or

conspiracy and, as a result, have suffered damages.

          78.     This is an antitrust injury of the type that the antitrust laws were meant to punish

and prevent.

                                       CLAIMS FOR RELIEF

                                            COUNT 1
                      Restraint of Trade in Violation of the Sherman Act § 1
                                           15 U.S.C. § 1
                (On Behalf of Nationwide Class for Injunctive and Equitable Relief)

          79.     Plaintiff incorporates by reference the allegations in the preceding paragraphs.

          80.     Beginning as early as January 1, 2021, the exact date being unknown to Plaintiff

and exclusively within the knowledge of Defendants, and continuing through the present,

Defendants and their co-conspirators entered into a continuing agreement to unlawfully and




25
  Potatopro.com, US Potato Prices Expected to Ease but Stay Elevated according to Rabobank
Report (June 6, 2023), available at https://www.potatopro.com/es/news/2023/us-potato-prices-
expected-ease-maintain-elevated-levels-rabobank-report.




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unreasonably restrain trade and commerce in violation of Section 1 of the Sherman Act, 15 U.S.C.

§ 1 by artificially reducing or eliminating competition for the pricing of Frozen Potatoes.

       81.     Defendants’ acts in furtherance of their combination or conspiracy were authorized,

ordered, or done by their officers, agents, employees, or representatives while actively engaged in

the management of Defendants’ affairs.

       82.     Defendants’ anticompetitive acts had a direct, substantial, and foreseeable effect on

interstate commerce by raising and fixing prices for Frozen Potatoes throughout the United States.

       83.     The conspiratorial acts and combinations have caused unreasonable restraints in the

market for Frozen Potatoes.

       84.     As a result of Defendants’ unlawful conduct, Plaintiff and the members of the

Nationwide Class have been harmed by being forced to pay inflated, supra-competitive prices for

Frozen Potatoes.

       85.     In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and all of their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth in

this Complaint. Defendants’ conspiracy had the following effects, among others:

       A.      Price competition in the market for Frozen Potatoes has been restrained,

               suppressed, and/or eliminated in the United States;

       B.      Prices for Frozen Potatoes sold by Defendants, their divisions, subsidiaries, and

               affiliates, and all of their co-conspirators have been fixed, raised, stabilized, and

               maintained at artificially high, non-competitive levels throughout the United States;

               and




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        C.        Plaintiff and members of the Nationwide Class have been deprived of the benefits

                  of free and open competition in the purchase of Frozen Potatoes.

        86.       Defendants took all the actions alleged in this Complaint with the knowledge and

intended effect that their actions would proximately cause the price of Frozen Potatoes to be higher

than it would be but for Defendants’ conduct.

        87.       As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiff

and members of the Nationwide Class have been injured in their business or property and will

continue to be injured in their business and property by paying more for Frozen Potatoes than they

would have paid and will pay in the absence of the conspiracy.

        88.       The alleged contract, combination, or conspiracy is a per se violation of the federal

antitrust laws.

   VIOLATIONS OF STATE ANTITRUST AND CONSUMER PROTECTION LAWS

        89.       Plaintiff repeats and realleges, as if fully set forth herein, each allegation, and each

of the state-specific causes of action described below incorporates the allegations as if fully set

forth therein.

        90.       During the Class Period, Defendants and their co-conspirators entered and engaged

in a contract, combination, or conspiracy to fix, raise, maintain, and stabilize the price of Frozen

Potato prices in various states to unreasonably restrain trade and commerce and harm consumers

in violation of the various state antitrust and consumer protection laws set forth below.

        91.       In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the alleged combination and conspiracy, including:

agreeing to fix, raise, maintain, and stabilize the price of Frozen Potatoes which injured Plaintiff

and members of the State Law Class.




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       92.     Defendants and their co-conspirators engaged in actions described above for the

purpose of carrying out their unlawful agreements to fix, increase, maintain, or stabilize Frozen

Potato prices at artificially high levels. As a direct and proximate result of Defendants’ conduct,

Plaintiff and members of the State Law Class were deprived of free and open competition and paid

more to purchase Frozen Potatoes than they otherwise would have in the absence of Defendants’

unlawful conduct. This injury is of the type that the antitrust and consumer protection laws of the

below states were designed to prevent and flows from that which makes Defendants’ conduct

unlawful.

       93.     In addition, Defendants have profited significantly from the conspiracy.

Defendants’ profits derived from their anticompetitive conduct and come at the expense of and to

the detriment of Plaintiff and members of the State Law Class.

       94.     Accordingly, Plaintiff and the members of the State Law Class in each of the

following jurisdictions seek damages (including statutory damages where applicable), to be trebled

or otherwise increased as permitted by each particular jurisdiction’s law, injunction (where

applicable), and costs of suit, including reasonable attorneys’ fees, to the extent permitted by the

following state laws.

       95.     Defendants’ anticompetitive acts described above were knowing and willful and

constitute violations of the following state antitrust and consumer protection statutes.

                                 COUNT 2: ALABAMA
   (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Alabama)

       124.    Due to Defendants’ unlawful conduct, (1) competition for Frozen Potatoes was

restrained, suppressed, and eliminated within Alabama; (2) Frozen Potato prices in the State of

Alabama were raised, fixed, maintained, stabilized at artificially high levels; and (3) individuals

have been deprived of free and open competition. Defendants’ agreement was an unlawful




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agreement to restrain trade in the State of Alabama in violation of ALA. CODE §§ 6-5-60 et seq.

Defendants’ conspiracy substantially affected Alabama commerce and accordingly, Plaintiff and

the members of the State Law Class seek all forms of relief available under ALA. CODE §§ 6-5-

60 et seq.

                              COUNTS 3 & 4: ARIZONA
   (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Arizona)

         125.   Defendants’ conspiracies had the following effects: (1) price competition for

Frozen Potatoes was restrained, suppressed, and eliminated throughout Arizona; (2) price of

Frozen Potatoes in the State of Arizona were raised, fixed, maintained, stabilized at artificially

high levels; and (3) individuals have been deprived of free and open competition. During the Class

Period, Defendants’ illegal conduct substantially affected Arizona commerce.

         126.   Defendants’ agreement was an unlawful agreement to restrain trade in the State of

Arizona in violation of ARIZ. REV. STAT. § 44-1401 et seq. Accordingly, Plaintiff and members

of the State Law Class seek all forms of relief available under ARIZ. REV. STAT. § 44-1401 et

seq.

         127.   Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of ARIZ. REV. STAT. ANN. § 44-1521 et seq., and, accordingly, Plaintiff

and members of the State Law Class seek all relief available under that statute.

                            COUNTS 5 & 6: CALIFORNIA
  (On Behalf of State Law Class Members that Purchased Frozen Potatoes in California)

         128.   Defendants’ conspiracies had the following effects: (1) price competition for

Frozen Potatoes was restrained, suppressed, and eliminated throughout California; (2) Frozen

Potato prices in the State of California were raised, fixed, maintained, stabilized at artificially high

levels; and (3) individuals have been deprived of free and open competition. During the Class

Period, Defendants’ illegal conduct substantially affected California commerce and consumers.



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       129.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of CAL. BUS. & PROF. CODE §§ 16700 et seq. During the Class Period, Defendants

and their co-conspirators entered into and engaged in a continuing unlawful trust in restraint of the

trade and commerce. Each defendant has acted in violation of CAL. BUS. & PROF. CODE §

16720 to fix, raise, maintain, and stabilize the price of Frozen Potatoes. The violations of CAL.

BUS. & PROF. CODE § 16720 consisted, without limitation, of a continuing unlawful trust and

concert of action among Defendants and their co-conspirators, the substantial terms of which were

to fix, raise, maintain, and stabilize the price of Frozen Potatoes. For the purpose of forming and

effectuating the unlawful trust, Defendants and their co-conspirators have done those things which

they combined and conspired to do, including, but not limited to, the acts, practices and course of

conduct set forth above, and creating a price floor, fixing, raising, and stabilizing the prices of

Frozen Potatoes. As a result of Defendants’ violation of CAL. BUS.&. & PROF. CODE § 16720,

Plaintiff and members of the Class seek treble damages and their cost of suit, including reasonable

attorneys’ fees, pursuant to CAL. BUS. & PROF. CODE § 16750(a). Defendants have engaged in

unfair competition or unfair or deceptive acts or practices in violation of Cal. Bus. & Prof. Code

§§ 17200 et seq., and, accordingly, Plaintiff and members of the State Law Class seek all relief

available under that statute.

                             COUNTS 7 & 8: COLORADO
   (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Colorado)

       130.    Defendants’ conspiracies had the following effects: (1) price competition for

Frozen Potatoes was restrained, suppressed, and eliminated throughout Colorado; (2) Frozen

Potato prices in the State of Colorado were raised, fixed, maintained, and stabilized at artificially

high levels; and (3) individuals have been deprived of free and open competition. During the Class

Period, Defendants’ illegal conduct substantially affected Colorado commerce and consumers.




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       131.    Defendants have violated Colo. Rev. Stat. §§ 6-4-101 et seq. Accordingly, Plaintiff

and members of the State Law Class seek all forms of relief available under violated Colo. Rev.

Stat. §§ 6-4- 101, et seq.

       132.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of Colo. Rev. Stat. §§ 6-1-101 et seq. and, accordingly, Plaintiff and members

of the State Law Class seek all relief available under that statute.

                              COUNT 9: CONNECTICUT
 (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Connecticut)

       133.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of Conn. Gen. Stat. §§ 35-24 et seq. Defendants’ combinations or conspiracies had the

following effects: (1) price competition for Frozen Potatoes was restrained, suppressed, and

eliminated throughout Connecticut, and (2) Frozen Potato prices in the State of Connecticut were

fixed, controlled, and maintained at artificially high levels; and (3) individuals have been deprived

of free and open competition. During the Class Period, Defendants’ illegal conduct substantially

affected Connecticut commerce. As such, Defendants have entered into agreements in restraint of

trade in violation of Conn. Gen. Stat. §§ 35-24 et seq. Accordingly, Plaintiff and members of the

State Law Class seek all forms of relief available under Conn. Gen. Stat. §

                     COUNTS 10 & 11: DISTRICT OF COLUMBIA
 (On Behalf of State Law Class Members that Purchased Frozen Potatoes in the District of
                                     Columbia)

       134.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for Frozen Potatoes was restrained, suppressed, and eliminated throughout the District

of Columbia; (2) Frozen Potato prices were raised, fixed, maintained, and stabilized at artificially

high levels throughout the District of Columbia; and (3) Plaintiff and members of the Class,

including those who resided in the District of Columbia and purchased Frozen Potatoes in the




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District of Columbia, paid supra-competitive, artificially inflated prices for Frozen Potatoes.

During the Class Period, Defendants’ illegal conduct substantially affected commerce in the

District of Columbia.

       135.    Defendants have entered into agreements in restraint of trade in violation of D.C.

CODE §§ 28-4501 et seq. Accordingly, Plaintiff and members of the State Law Class seek all

forms of relief available under D.C. CODE, §§ 28-4501 et seq.

       136.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of D.C. CODE, §§ 28-3901 et seq., and, accordingly, Plaintiff and members

of the State Law Class seek all relief available under that statute.

                              COUNTS 12 & 13: FLORIDA
    (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Florida)

       137.    Through Defendants’ actions and actions of co-conspirators, Frozen Potato prices

in the State of Florida were raised, fixed, maintained, and stabilized at artificially high level,

thereby injuring Plaintiff and the State Law Class. Throughout the Class Period, competition in

the Frozen Potatoes market was restrained, suppressed, and eliminated throughout Florida.

Plaintiff and members of the State Law Class, including those who purchased Frozen Potatoes in

the State of Florida, paid supra-competitive, artificially inflated prices for Frozen Potatoes. During

the Class Period, Defendants’ illegal conduct substantially affected commerce in Florida.

       138.    Defendants have violated the FLA. STAT. §§ 542.15 et seq., through their

anticompetitive actions. Accordingly, Plaintiff and members of the State Law Class seek all forms

of relief available under FLA. STAT. §§ 542.15 et seq.

       139.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of Fla. Stat. §§ 501.201 et seq., and, accordingly, Plaintiff and members of

the State Law Class seek all relief available under that statute.




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                                  COUNT 14: HAWAII
    (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Hawaii)

       140.    Defendants have violated Haw. Rev. Stat. Ann. §§ 480-1 et seq., through their

actions. See HAW. REV. STAT. §§ 480-4, 480-13. Through Defendants’ actions and the actions

of their co-conspirators, Frozen Potato prices in the State of Hawaii were raised, fixed, maintained,

and stabilized at artificially high levels, thereby injuring Plaintiff and the State Law Class.

Throughout the Class Period, price competition for Frozen Potatoes was restrained, suppressed,

and eliminated throughout the State of Hawaii. Plaintiff and members of the State Law Class,

including those who resided in the State of Hawaii and purchased Frozen Potatoes in Hawaii, paid

supra-competitive, artificially inflated prices for their Frozen Potatoes. During the Class Period,

Defendants’ illegal conduct substantially affected commerce in Hawaii. Accordingly, Plaintiff and

members of the State Law Class seek all forms of relief available under HAW. REV. STAT. ANN.

§§ 480-1 et seq.

                             COUNTS 15 & 16: ILLINOIS
    (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Illinois)

       141.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition in the Frozen Potatoes market was restrained, suppressed, and eliminated throughout

the State of Illinois, and (2) Frozen Potato prices were raised, fixed, maintained, and stabilized at

artificially high levels throughout the State of Illinois. During the Class Period, Defendants’ illegal

conduct substantially affected Illinois commerce.

       142.    Defendants have entered into agreements in restraint of trade in violation of 740 Ill.

Comp. Stat. 10/1 et seq. Accordingly, Plaintiff and members of the State Law Class seek all forms

of relief available under 740 Ill. Comp. Stat. 10/1 et seq.

       143.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of 815 Ill. Comp. Stat. 505/1 et seq, and 720 Ill. Comp. Stat. 295/1a, and,



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accordingly, Plaintiff and members of the State Law Class seek all relief available under that

statute.

                                   COUNT 17: IOWA
     (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Iowa)

           144.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of IOWA CODE § 553.1 et seq. Defendants’ combinations or conspiracies had the

following effects: (1) price competition for Frozen Potatoes was restrained, suppressed, and

eliminated throughout the State of Iowa, and (2) Frozen Potato prices were raised, fixed,

maintained and stabilized at artificially high levels throughout the State of Iowa. During the Class

Period, Defendants’ illegal conduct substantially affected Iowa commerce. By reason of the

foregoing, Defendants have entered into agreements in restraint of trade in violation of IOWA

CODE §§ 553.1 et seq. Accordingly, Plaintiff and members of the State Law Class seek all forms

of relief available under Iowa Code §§ 553.1 et seq.

                                  COUNT 18: KANSAS
    (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Kansas)

           145.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of KAN. STAT. ANN. §§ 50-101 et seq. Defendants’ conspiracy had the following

effects: (1) price competition for Frozen Potatoes was restrained, suppressed, and eliminated

throughout the State of Kansas; (2) Frozen Potato prices in the State of Kansas were raised, fixed,

maintained, and stabilized at artificially high levels; and (3) individuals have been deprived of free

and open competition. During the Class Period, Defendants’ illegal conduct substantially affected

Kansas commerce. Accordingly, Plaintiff and members of the State Law Class seek all forms of

relief available under KAN. STAT. ANN. §§ 50-101 et seq.




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                                  COUNT 19: MAINE
    (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Maine)

       146.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of ME. STAT. TIT. 10, § 1101. Defendants’ conspiracy had the following effects: (1)

price competition for Frozen Potatoes was restrained, suppressed, and eliminated throughout the

State of Maine; and (2) Frozen Potato prices in the State of Maine were raised, fixed, maintained,

and stabilized at artificially high levels. During the Class Period, Defendants’ illegal conduct

substantially affected Maine commerce. Accordingly, Plaintiff and members of the State Law

Class seek all relief available under ME. STAT. TIT. 10, § 1104.

                           COUNTS 20 & 21: MARYLAND
  (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Maryland)

       147.    Defendants’ combinations or conspiracies detrimentally affected the price

competition in the State of Maryland for Frozen Potatoes by restraining, suppressing, and

eliminating competition. Furthermore, Defendants’ unlawful conduct raised, fixed, maintained,

and stabilized Frozen Potato prices in the State of Maryland at artificially high levels. During the

Class Period, Defendants’ illegal conduct substantially affected Maryland commerce.

       148.    Defendants violated the MD. CODE ANN., COM. LAW §§ 11-201 et seq., by

entering into unlawful agreement in restraint of trade in the State of Maryland. Accordingly,

Plaintiff and members of the State Law Class seek all relief available under MD. CODE ANN.,

COM. LAW §§ 11-201 et seq.

       149.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of MD. CODE ANN., COM. LAW §§ 13-101 et seq., and, accordingly,

Plaintiff and members of the State Law Class seek all relief available under that statute.




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                            COUNTS 22 & 23: MICHIGAN
  (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Michigan)

       150.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for Frozen Potatoes was restrained, suppressed, and eliminated throughout the State

of Michigan, and (2) Frozen Potato prices were raised, fixed, maintained, and stabilized at

artificially high levels throughout the State of Michigan. During the Class Period, Defendants’

illegal conduct substantially affected Michigan commerce.

       151.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of MICH. COMP. LAWS §§ 445.771 et seq. Accordingly, Plaintiff and members of the

State Law Class seek all relief available under MICH. COMP. LAWS §§ 445.771 et seq.

       152.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of MICH. COMP. LAWS §§ 445.903 et seq., and, accordingly, Plaintiff and

members of the State Law Class seek all relief available under that statute.

                           COUNTS 24 & 25: MINNESOTA
  (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Minnesota)

       153.    Through their actions and actions of co-conspirators, Frozen Potato prices in the

State of Minnesota were raised, fixed, maintained, and stabilized at an artificially high level,

thereby injuring Plaintiff and the State Law Class. Throughout the Class Period, price competition

in the market for Frozen Potatoes was restrained, suppressed, and eliminated throughout the State

of Minnesota. Plaintiff and members of the State Law Class, including those who resided in the

State of Minnesota and purchased Frozen Potatoes there, paid supra-competitive, artificially

inflated prices for Frozen Potatoes. During the Class Period, Defendants’ illegal conduct

substantially affected commerce in the State of Minnesota.




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       154.    Defendants have violated the MINN. STAT. §§ 325D.49 et seq., through their

anticompetitive actions. Accordingly, Plaintiff and members of the State Law Class seek all forms

of relief available under MINN. STAT. §§ 325D.49 et seq.

       155.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation MINN. STAT. MINN. STAT. §§ 325d.43-48 et seq., and, accordingly,

Plaintiff and members of the State Law Class seek all relief available under that statute.

                                COUNT 26: MISSISSIPPI
  (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Mississippi)

       156.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of MISS. CODE ANN. §§ 75-21-1 et seq. See MISS. CODE ANN. § 75-57-63.

Defendants’ combinations or conspiracies had the following effects: (1) price competition for

Frozen Potatoes was restrained, suppressed, and eliminated throughout the State of Mississippi,

and (2) Frozen Potato prices were raised, fixed, maintained, and stabilized at artificially high levels

throughout the State of Mississippi. During the Class Period, Defendants’ illegal conduct

substantially affected the State of Mississippi commerce. Accordingly, Plaintiff and members of

the State Law Class seek all relief available under MISS. CODE ANN. §§ 75-21-1 et seq., and

MISS. CODE ANN. § 75-57-63.

                             COUNTS 27 & 28: NEBRASKA
        (On Behalf of Class Members that Purchased Frozen Potatoes in Nebraska)

       157.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for Frozen Potatoes was restrained, suppressed, and eliminated throughout the State

of Nebraska, and (2) Frozen Potato prices were raised, fixed, maintained, and stabilized at

artificially high levels throughout the State of Nebraska. During the Class Period, Defendants’

illegal conduct substantially affected the State of Nebraska commerce.




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          158.   Defendants restrained trade and commerce in the State of Nebraska by entering into

an unlawful agreement in violation of NEB. REV. STAT. §§ 59-801 et seq. Accordingly, Plaintiff

and members of the State Law Class seek all relief available under NEB. REV. STAT. §§ 59-801

et seq.

          159.   Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of NEB. REV. STAT. §§ 59-1601 et seq., and, accordingly, Plaintiff and

members of the State Law Class seek all relief available under that statute.

                                COUNTS 29 & 30: NEVADA
           (On Behalf of Class Members that Purchased Frozen Potatoes in Nevada)

          160.   Defendants’ conspiracies had the following effects: (1) price competition for

Frozen Potatoes was restrained, suppressed, and eliminated throughout the State of Nevada; (2)

Frozen Potato prices in the State of Nevada were raised, fixed, maintained, stabilized at artificially

high levels; and (3) individuals have been deprived of free and open competition.

          161.   Defendants violated the NEV. REV. STAT. ANN. §§ 598A.210 et seq., by entering

into unlawful agreements in restraint of trade in the State of Nevada. As a result of Defendants’

violation of NEV. REV. STAT. ANN. §§ 598A.210 et seq. Plaintiff and members of the State Law

Class seek treble damages and their cost of suit, including reasonable attorneys’ fees, pursuant to

NEV. REV. STAT. ANN. § 598A.210.

          162.   Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of NEV. REV. STAT. §§ 598.0903 et seq., and, accordingly, Plaintiff and

members of the State Law Class seek all relief available under that statute.




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                          COUNTS 31 & 32: NEW HAMPSHIRE
      (On Behalf of State Law Class Members that Purchased Frozen Potatoes in New
                                      Hampshire)

       163.    Defendants’ combinations or conspiracies detrimentally affected the price

competition in the State of New Hampshire Frozen Potatoes market by restraining, suppressing,

and eliminating competition. Further, Defendants’ unlawful conduct raised, fixed, maintained, and

stabilized Frozen Potato prices in the State of New Hampshire at artificially high levels. During

the Class Period, Defendants’ illegal conduct substantially affected the State of New Hampshire

commerce.

       164.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of N.H. REV. STAT. ANN. §§ 356:1 et seq. Accordingly, Plaintiff and members of the

State Law Class seek all relief available under N.H. REV. STAT. ANN. §§ 356:1 et seq.

       165.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of N.H. Rev. Stat. Ann. §§ 358-A:1 et seq., and, accordingly, Plaintiff and

members of the State Law Class seek all relief available under that statute.

                          COUNTS 33 & 34: NEW MEXICO
 (On Behalf of State Law Class Members that Purchased Frozen Potatoes in New Mexico)

       166.    Defendants’ combinations or conspiracies detrimentally affected the price

competition in the State of New Mexico for Frozen Potatoes by restraining, suppressing, and

eliminating competition. Furthermore, Defendants’ unlawful conduct raised, fixed, maintained and

stabilized Frozen Potato prices in the State of New Mexico at artificially high levels. During the

Class Period, Defendants’ illegal conduct substantially affected commerce in the State of New

Mexico.

       167.    Defendants violated the N.M. STAT. ANN. §§ 57-1-1 et seq., by entering into

unlawful agreements in restraint of trade in the State of New Mexico. Accordingly, Plaintiff and




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Members of the State Law Class seek all relief available under N.M. STAT. ANN. §§ 57-1-1 et

seq.

         168.   Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of N.M. STAT. ANN. §§ 57-12-1 et seq., and, accordingly, Plaintiff and

members of the State Law Class seek all relief available under that statute.

                                COUNT 35: NEW YORK
         (On Behalf of Class Members that Purchased Frozen Potatoes in New York)

         169.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of N.Y. GEN. BUS. LAW §§ 340 et seq. Defendants’ conspiracy had the following

effects: (1) price competition in the market for Frozen Potatoes was restrained, suppressed, and

eliminated throughout the State of New York, and (2) Frozen Potato prices were raised, fixed,

maintained, and stabilized at artificially high levels throughout the State of New York. During the

Class Period, Defendants’ illegal conduct substantially affected the State of New York commerce.

The conduct set forth above is a per se violation of the Donnelly Act, N.Y. GEN. BUS. LAW §§

340 et seq. Accordingly, Plaintiff and members of the State Law Class seek all relief available

under N.Y. GEN. BUS. LAW §§ 340 et seq.

                              COUNT 36: NORTH CAROLINA
       (On Behalf of State Law Class Members that Purchased Frozen Potatoes in North
                                        Carolina)

         170.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of N.C. GEN. STAT. §§ 75-1 et seq. Defendants’ combinations or conspiracies had the

following effects: (1) price competition in the market for Frozen Potatoes was restrained,

suppressed, and eliminated throughout the State of North Carolina, and (2) Frozen Potato prices

were raised, fixed, maintained, and stabilized at artificially high levels throughout the State of

North Carolina. During the Class Period, Defendants’ illegal conduct substantially affected the




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State of North Carolina commerce. Accordingly, Plaintiff and members of the State Law Class

seek all relief available under N.C. GEN. STAT. §§ 75-1 et seq.

                            COUNT 37: NORTH DAKOTA
(On Behalf of State Law Class Members that Purchased Frozen Potatoes in North Dakota)

       171.    Defendants’ actions have violated the N.D. CENT. CODE §§ 51-08.1-01 et seq.

through their anticompetitive actions. Through their actions and actions of co-conspirators, Frozen

Potato prices in the State of North Dakota were raised, fixed, maintained, and stabilized at

artificially high levels, thereby injuring Plaintiff and members of the State Law Class. Throughout

the Class Period, price competition in the market for Frozen Potatoes was restrained, suppressed,

and eliminated throughout the State of North Dakota. Plaintiff and members of the State Law

Class, including those who resided in the State of North Dakota and purchased Frozen Potatoes

there, paid supra-competitive, artificially inflated prices. During the Class Period, Defendants’

illegal conduct substantially affected commerce in the State of North Dakota. Accordingly,

Plaintiff and members of the State Law Class seek all forms of relief available under N.D. CENT.

CODE §§ 51-08.1-01 et seq.

                              COUNTS 38 & 39: OREGON
         (On Behalf of Class Members that Purchased Frozen Potatoes in Oregon)

       172.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for Frozen Potatoes was restrained, suppressed, and eliminated throughout the State

of Oregon; (2) Frozen Potato prices in the State of Oregon were raised, fixed, maintained, and

stabilized at artificially high levels; and (3) individuals have been deprived of free and open

competition. During the Class Period, Defendants’ illegal conduct substantially affected the State

of Oregon commerce.




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       173.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of OR. REV. STAT. §§ 646.725 et seq. Accordingly, Plaintiff and members of the State

Law Class seek all forms of relief available under OR. REV. STAT. §§ 646.725 et seq.

       174.     Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of OR. REV. STAT. §§ 646.605 et seq., and, accordingly, Plaintiff and

members of the State Law Class seek all relief available under that statute.

                         COUNTS 40 & 41: RHODE ISLAND
(On Behalf of State Law Class Members that Purchased Frozen Potatoes in Rhode Island)

       175.     Defendants’ combinations or conspiracies detrimentally affected the price

competition in the State of Rhode Island for Frozen Potatoes by restraining, suppressing, and

eliminating competition. Furthermore, Defendants’ unlawful conduct raised, fixed, maintained,

and stabilized Frozen Potato prices in the State of Rhode Island at artificially high levels. During

the Class Period, Defendants’ illegal conduct substantially affected commerce in the State of

Rhode Island.

       176.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of R.I. GEN. LAWS §§ 6-36-7 et seq. Accordingly, Plaintiff and members of the State

Law Class seek all relief available under R.I. GEN. LAWS §§ 6-36-7 et seq.

       177.     Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of R.I. GEN. LAWS §§ 6-13.1-1, and, accordingly, Plaintiff and members

of the State Law Class seek all relief available under that statute.

                         COUNTS 42 & 43: SOUTH DAKOTA
(On Behalf of State Law Class Members that Purchased Frozen Potatoes in South Dakota)

       178.     Through their actions and actions of co-conspirators, Frozen Potato prices in the

State of South Dakota were raised, fixed, maintained, and stabilized at artificially high levels,

thereby injuring Plaintiff and the State Law Class. Throughout the Class Period, price competition



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in the market for Frozen Potatoes was restrained, suppressed, and eliminated throughout the State

of South Dakota. During the Class Period, Defendants’ illegal conduct substantially affected

commerce in the State of South Dakota. Plaintiff and members of the State Law Class, including

those who resided in the State of South Dakota and purchased Frozen Potatoes there, paid supra-

competitive, artificially inflated prices for their Frozen Potatoes.

       179.    Defendants have violated S.D. CODIFIED LAWS §§ 37-1-3.1 et seq., through their

anticompetitive actions. Accordingly, Plaintiff and members of the State Law Class seek all forms

of relief available under S.D. CODIFIED LAWS §§ 37-1-3.1 et seq.

       180.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of S.D. CODIFIED LAWS §§ 37-24-1 et seq., and, accordingly, Plaintiff

and members of the State Law Class seek all relief available under that statute.

                               COUNT 44: TENNESSEE
  (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Tennessee)

       181.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of TENN. CODE ANN. §§ 47-25-101 et seq. Defendants’ combinations or conspiracies

had the following effects: (1) price competition for the sale of Frozen Potatoes, tangible goods,

was restrained, suppressed, and eliminated throughout the State of Tennessee; (2) prices for Frozen

Potatoes, tangible goods, in the State of Tennessee were raised, fixed, maintained, and stabilized

at artificially high levels; and (3) individuals have been deprived of free and open competition.

During the Class Period, Defendants’ illegal conduct substantially affected commerce in the State

of Tennessee. Accordingly, Plaintiff and members of the State Law Class seek all forms of relief

available under TENN. CODE ANN. §§ 47-25-101 et seq.




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                                     COUNT 45: UTAH
       (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Utah)

         182.   Defendants violated the UTAH CODE ANN. §§ 76-10-3101 et seq. by entering

into unlawful agreement in restraint of trade in the State of Utah. Specifically, Defendants’

combinations or conspiracies detrimentally affected the price competition in the State of Utah for

the Frozen Potatoes market by restraining, suppressing, and eliminating competition. Furthermore,

Defendants’ unlawful conduct raised, fixed, maintained, and stabilized Frozen Potato prices in

Utah at artificially high levels. During the Class Period, Defendants’ illegal conduct substantially

affected commerce in the State of Utah. Accordingly, Plaintiff and Members of the State Law

Class seek all relief available under UTAH CODE ANN. §§ 76-10-3101 et seq.

                                COUNT 46: VERMONT
   (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Vermont)

         183.   Defendants’ combinations or conspiracies had the following effects: (1) price

competition for Frozen Potatoes was restrained, suppressed, and eliminated throughout the State

of Vermont; (2) Frozen Potato prices in the State of Vermont were raised, fixed, maintained, and

stabilized at artificially high levels; and (3) individuals have been deprived of free and open

competition. Defendants have entered into an unlawful agreement in restraint of trade in violation

of VT. STAT. ANN. TIT. 9, §§ 2453 et seq. During the Class Period, Defendants’ illegal conduct

substantially affected commerce in the State of Vermont. Accordingly, Plaintiff and members of

the State Law Class seek all forms of relief available under VT. STAT. ANN. TIT. 9, §§ 2465 et

seq.

                               COUNT 47: ARKANSAS
  (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Arkansas)

         184.   Defendants’ conspiracy unlawfully misleads consumers into believing the price of

Frozen Potatoes sold in Arkansas was the result of a free market and Defendants’ conduct is




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substantively unconscionable because it unfairly benefits Defendants at the expense of Plaintiff

and members of the Class. ARK. CODE ANN. § 4-88-107. Accordingly, Plaintiff and members

of the State Law Class seek all available relief under ARK. CODE ANN. §§ 4-88-101, et seq.,

resulting from Defendants’ deceptive and unconscionable trade practices.

                                COUNT 48: MONTANA
   (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Montana)

       185.    By reason of the conduct alleged herein, Defendants have violated MONT. CODE,

§§ 30-14-101, et seq. Defendants’ unlawful conduct had the following effects: (1) Frozen Potato

price competition was restrained, suppressed, and eliminated throughout Montana; (2) Frozen

Potato prices were raised, fixed, maintained, and stabilized at artificially high levels throughout

Montana; (3) Plaintiff was deprived of free and open competition; and (4) Plaintiff and members

of the State Law Class paid supracompetitive, artificially inflated prices for Frozen Potatoes.

       186.    During the Class Period, Defendants’ illegal conduct substantially affected

Montana commerce and consumers. As a direct and proximate result of Defendants’ unlawful

conduct, Plaintiff was injured and are threatened with further injury. Accordingly, Plaintiff and

members of the State Law Class seek all relief available under the Montana Consumer Protection

Act of 1973, MONT. CODE, §§ 30-14-101, et seq.

                              COUNT 49: NEW JERSEY
 (On Behalf of State Law Class Members that Purchased Frozen Potatoes in New Jersey)

       187.    Defendants’ conspiracy detrimentally affected the price competition for Frozen

Potatoes purchased in the State of New Jersey by restraining, suppressing, and eliminating

competition. Further, Defendants’ unlawful conduct raised, fixed, maintained, and stabilized

Frozen Potato prices in the State of New Jersey at artificially high levels. During the Class Period,

Defendants’ illegal conduct substantially affected the State of New Jersey commerce.




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       188.    Defendants engaged in a conspiracy in restraint of the trading of Frozen Potatoes

in violation of the New Jersey Antitrust Act. N.J. STAT. ANN. § 56:9-3. Accordingly, Plaintiff

and members of the State Law Class seek equitable relief and compensatory damages, together

with reasonable attorneys’ fees, filing fees and reasonable costs of suit, including but not limited

to expenses of discovery and document reproduction. N.J. STAT. ANN. § 56:9-12.

                            COUNT 50: WEST VIRGINIA
(On Behalf of State Law Class Members that Purchased Frozen Potatoes in West Virginia)

       189.    Defendants’ conspiracy had the following effects: (1) price competition for Frozen

Potatoes was restrained, suppressed, and eliminated throughout the State of West Virginia; (2)

Frozen Potato prices in the State of West Virginia were raised, fixed, maintained, and stabilized at

artificially high levels; and (3) individuals have been deprived of free and open competition.

Defendants have entered into an unlawful agreement in restraint of trade in violation of W. VA.

CODE §§ 47-18-1 et seq. During the Class Period, Defendants’ illegal conduct substantially

affected commerce in the State of West Virginia. Accordingly, Plaintiff and members of the State

Law Class seek all forms of relief available under W. VA. CODE §§ 47-18-1 et seq.

                               COUNT 51: WISCONSIN
  (On Behalf of State Law Class Members that Purchased Frozen Potatoes in Wisconsin)

       190.    Defendants have entered into an unlawful contract and conspiracy in restraint of

trade in violation of WIS. STAT. § 133.03(1). Defendants’ conspiracy had the following effects:

(1) price competition for Frozen Potatoes was restrained, suppressed, and eliminated throughout

the State of Wisconsin; (2) Frozen Potato prices in the State of Wisconsin were raised, fixed,

maintained, and stabilized at artificially high levels; and (3) individuals have been deprived of free

and open competition. Accordingly, Plaintiff and members of the State Law Class seek all forms

of relief available under WIS. STAT. § 133.03




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                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully pray that the Court enter judgment as follows:

          1)      The Court determine that this action may be maintained as a class action under Rule

23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiff as the Class

Representative and her counsel of record as Class Counsel, and direct that at a practicable time

notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given

to the Classes;

          2)      Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any manner

continuing, maintaining or renewing the conduct, conspiracy, or combination alleged herein, or

from entering into any other conspiracy or combination having a similar purpose or effect, and

from adopting or following any practice, plan, program, or device having a similar purpose or

effect;

          3)      The unlawful conduct, conspiracy or combination alleged herein be adjudged and

decreed a per se violation of Section 1 of the Sherman Act, and a violation of each of the state law

statutes alleged herein;

          4)      Awarding Plaintiff and the relevant Class Members compensatory damages under

the state statutes in an amount to be proven at trial, multiple damages according to law against

Defendants, jointly and severally;

          5)      Awarding Plaintiff and the relevant Class Members punitive, exemplary, statutory,

and full consideration damages under the aforementioned state laws;

          6)      Ordering Defendants to disgorge their profits earned as a result of their wrongful

conduct and ordering them to make restitution to Plaintiff and Class Members;



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        7)      Plaintiff and the Class Members be awarded pre- and post- judgment interest as

provided by law, and that such interest be awarded at the highest legal rate from and after the date

of service of this Complaint;

        8)      Plaintiff and the Class Members recover their costs of suit, including reasonable

attorneys’ fees, as provided by law; and

        9)      Granting Plaintiff and the Class Members such other and further relief as the Court

deems just and proper.

                                  DEMAND FOR JURY TRIAL

             Plaintiff demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, of all issues so triable.


DATED: November 18, 2024               By: /s/Kimberly A. Justice
                                          Kimberly A. Justice
                                          FREED KANNER LONDON
                                          & MILLEN LLC
                                          923 Fayette Street
                                          Conshohocken, PA 19428
                                          Telephone: (484) 243-6335
                                          kjustice@fklmlaw.com

                                           Douglas A. Millen
                                           Matthew W. Ruan
                                           Robert J. Wozniak
                                           FREED KANNER LONDON
                                           & MILLEN LLC
                                           100 Tri-State International, Suite 128
                                           Lincolnshire, IL 60069
                                           Telephone: (224) 632-4500
                                           dmillen@fklmlaw.com
                                           mruan@fklmlaw.com
                                           rwozniak@fklmlaw.com

                                           Daniel L. Warshaw
                                           Bobby Pouya (Pro Hac Vice forthcoming)




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                               Matthew A. Pearson (Pro Hac Vice forthcoming)
                               Eric J. Mont (Pro Hac Vice forthcoming)
                               PEARSON WARSHAW, LLP
                               15165 Ventura Boulevard, Suite 400
                               Sherman Oaks, CA 91403
                               T: (818) 788-8300
                               dwarshaw@pwfirm.com
                               bpouya@pwfirm.com
                               mapearson@pwfirm.com
                               emont@pwfirm.com

                               Brian S. Pafundi (Pro Hac Vice forthcoming)
                               PEARSON WARSHAW, LLP
                               328 Barry Ave. South, Suite 200
                               Wayzata, MN 55391
                               T: (612) 389-0600
                               bpafundi@pwfirm.com

                               Todd M. Schneider (Pro Hac Vice forthcoming)
                               Matthew S. Weiler (Pro Hac Vice forthcoming)
                               Raymond Levine (Pro Hac Vice forthcoming)
                               SCHNEIDER WALLACE
                               COTTRELL KONECKY LLP
                               2000 Powell Street, Suite 1400
                               Emeryville, CA 94608
                               T: (415) 421-7100
                               TSchneider@schneiderwallace.com
                               MWeiler@schneiderwallace.com
                               RLevine@schneiderwallace.com

                               Attorneys for Plaintiff and the Proposed Classes




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